         Case 18-33395 Document 12 Filed in TXSB on 07/11/18 Page 1 of 2



                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                         §
                                               §
DRILLING STRUCTURES                            §            Case No. 18-33395
INTERNATIONAL, INC.,                           §            (Chapter 11)
                                               §
       Debtor.                                 §

                      NOTICE OF APPEARANCE AND REQUEST
                     FOR SERVICE OF NOTICES AND PLEADINGS

       PLEASE TAKE NOTICE that the undersigned hereby enters his appearance on behalf of

Wells Fargo Bank, N.A., a creditor and party-in-interest in the above-referenced case, and

pursuant to 11 U.S.C. § 1109(b) and Bankruptcy Rules 2002, 9007, and 9010, requests that all

notices given or required to be given in this case, and all papers served or required to be served

in this case, be served upon the undersigned attorney at the following address:

                                         Steven A. Leyh
                                  Leyh Payne & Mallia, PLLC
                                 9545 Katy Freeway, Suite 200
                                     Houston, Texas 77024
                                  (713) 785-0881 (Telephone)
                                   (713) 784-0338 (Facsimile)
                                      sleyh@lpmfirm.com

       PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the

notices and documents referred to in the Bankruptcy Rules specified above, but also includes,

without limitation, notice of any applications, complaint, demand, hearing, motion, petition,

pleadings or other requests, whether formal or informal, written or oral, and whether transmitted

or conveyed by mail, telephone or otherwise.
        Case 18-33395 Document 12 Filed in TXSB on 07/11/18 Page 2 of 2



                                                    Respectfully submitted,

                                                    LEYH PAYNE & MALLIA, PLLC


                                                    By: /s/ Steven A. Leyh_________
                                                        Steven A. Leyh
                                                        Texas Bar No. 12318300

                                                    9545 Katy Freeway, Suite 200
                                                    Houston, Texas 77024
                                                    (713) 785-0881 (Telephone)
                                                    (713) 784-0338 (Facsimile)

                                                    ATTORNEYS FOR WELLS FARGO
                                                    BANK, N.A.




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this Notice of Appearance and Request for
Service of Notices and Pleadings was served electronically upon each of the parties listed on the
Court’s ECF Service List for this case on July 11, 2018.


                                                /s/ Steven A. Leyh__________
                                                Steven A. Leyh
